       Case
    Case     3:23-cv-00782-YY Document
         2:16-md-02740-JTM-MBN         6-5110338
                                Document      FiledFiled
                                                    05/22/23   Page
                                                         05/11/20   1 of 12 of 2
                                                                  Page



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                             MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                             SECTION: “H” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )

                        PRETRIAL ORDER NO. 105
         (SHORT FORM COMPLAINT ALLEGATIONS AND AMENDMENTS –
                    STATUTE OF LIMITATIONS ORDER)

        Considering many Plaintiffs have begun amending, or intend to amend, their individua l

Short Form Complaints in response to this Court’s rulings on recent motions seeking to amend

pleadings as they relate to statute of limitations (In re Taxotere (Docetaxel) Prods. Liab. Litig.,

MDL No. 16-2740, 2019 WL 2995897 (E.D. La. July 9, 2009); Rec. Doc. 8702, 8703), the Court

hereby Orders as follows:

    1. Applicability of Order. This Order applies to all Plaintiffs in MDL No. 2740 who intend

to amend their Short Form Complaints in light of the Court’s rulings related to statute of

limitations.

        It does not apply to amendments of pleadings related to CMO 12A/product identification.

    2. Short Form Complaint Allegations and Amendments – Statute of Limitations -

Permitted. Within the terms set forth in this Order, Plaintiffs may amend their complaints to add

factual allegations regarding particularized facts individual and specific to each Plaintiff’s medical

care and treatment and/or that Plaintiff’s communications with medical professionals.

        Nothing in this Order obviates the Court’s prior orders in PTO Nos. 15, 73, and 37A,

directing Plaintiffs to make use of the Court-approved and agreed Short Form Complaint, 1


1
 The parties will provide the Court with an amended exemplar Short Form Complaint that references the current
version of the Master Complaint, i.e., the Second Amended Master Long Form Complaint (Doc. 4407).


                                                       1
       Case
    Case     3:23-cv-00782-YY Document
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                                Document      FiledFiled
                                                    05/22/23   Page
                                                         05/11/20   2 of 22 of 2
                                                                  Page



“tailor[ing] the form to correspond to each Plaintiff’s claims/allegations” (Rec Doc. 1682, at *1)

in lieu of a long format original complaint. (Rec. Doc. 230, at *2.)

    3. Conferral Still Required. Nothing in this Order relieves Plaintiffs of the conferral

requirements of Federal Rule of Civil Procedure 15 and Pretrial Order No. 37A, or of the obligation

to indicate whether Amendments to each Plaintiff’s Short Form Complaint are opposed or

unopposed.

    4. Deadline to Amend. In cases on file as of the date of this Order, amendments pursuant to

this Order must be accomplished within forty-five (45) days of this Order for bellwether pool

Plaintiffs or within one hundred and eighty (180) days of this Order for non-bellwether pool

Plaintiffs. In addition, this Order shall also govern Short Form Complaints and Amended Short

Form Complaints in cases first filed after the date of this Order. In cases first filed after the date

of this Order, the allegations described in Paragraph 2 should be included in the Original Short

Form Complaints, or in an amendment within sixty (60) days of lawsuit filing.

    5. Defendants’ Motion to Strike. With this Order, the Court denies without prejudice the

Sanofi Defendants’ Motion to Strike (Rec. Doc. 8934) which can be re-filed in the event any Short

Form Complaints contain allegations the Defendants believe are inconsistent with this Order

following expiration of the timeframes set forth herein.



       New Orleans, Louisiana, this 11th day of May, 2020.




                                               ____________________________________
                                               HON. JANE T. MILAZZO
                                               UNITED STATES DISTRICT COURT JUDGE




                                                  2
